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UNITED STATES DISTRICT COURT
DISTRICT OF NEW JERSEY

UNITED STATES OF AMERICA : Hon. Michael A. Shipp
Vv. Criminal No. 20-781 (MAS)
JONATHAN L. XIE : ORDER DIRECTING THE

ESSEX COUNTY
CORRECTIONAL FACILITY TO
PERMIT A RECORDED
INTERVIEW

This matter having come before the Court upon the application of the defendant
JONATHAN L. XIE, by his attorney Aidan P. O’Connor, Esq., for an order directing the
United States Marshal’s Service (“USMS”) and the Essex County Correctional Facility
“(ECCF”) to permit the defense team to bring a recording device to the ECCF to record
the interview of Jonathan L. Xie by a government expert; the United States of America,
by Philip R. Sellinger, United States Attorney for the District of New Jersey, (Joyce M.
Malliet, Assistant U.S. Attorney, appearing), consenting to this motion, and the Court
finding that:

1. Defendant Xie is currently in pre-trial detention and in the custody of the
USMS;

2. Defendant Xie is currently housed at the ECCF;

3. Defendant Xie has submitted certain expert psychological and
neurological reports to the Government that he intends to rely on for sentencing:

4. The Government has proposed to have its expert, Kostas A. Katsavdakis,

Ph.D, conduct a risk assessment of defendant Xie;
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5. Defendant Xie requires a recording of Dr. Katsavdakis’ interview of Mr. Xie
to evaluate it and the eventual Governmental report;

6. The Government does not oppose recording this interview but requests
that the defendant provide the manpower and equipment to make such a recording;

ts The ECCF requires a court order to permit recording equipment to be
brought into the facility; and

8. For good and sufficient cause shown;

WHEREFORE, it is on this 22nd day of November, 2022,

ORDERED that the United States Marshal’s Service and the Essex County
Correctional Facility are directed to permit the law firm of Pashman Stein Walder
Hayden, P.C., or a court reporter or recording service hired by them, to bring an audio
recording device into the ECCF for the purpose of recording the interview of defendant
Jonathan Xie, by the Government expert, Dr. Katsavdakis on a date to be agreed upon

by the Government and defendant.

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HON. MICHAEL A. SHIPP
UNITED STATES DISTRICT JUDGE

